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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division



    TecSec,Inc.,

                            Plaintiff,
                                                               Civil Action No. l;10-cv-115
                                                               Hon. Liam O'Grady
             V.
                                                               Hon. Theresa Buchanan

     Adobe Systems Inc.,et al.

                            Defendants.


                                               ORDER


         This matter is before the Court on Defendant Adobe Systems Inc.'s(Adobe) Motion for
  Summary Judgment or Partial Summary Judgment of Limitation of Damages,No Willful
  Infringement, Non-Infringement, and Invalidity (Dkt. 1054); and Adobe s Motion for
  Reconsideration of the Prior Summary Judgment Ruling Regarding Patent Eligibility in Light of
  Potential Changes in Controlling Law and in Light ofthe Court's Subsequent Ruling on Claim
   Construction(Dkt. 1056). The motions are fully briefed and the Court heard oral argument on
   May 18,2018. For the reasons that follow and for good cause shown,the motions are DENIED.
          In its motion for reconsideration, Adobe points to recent cases out ofthe Federal Circuit
   and this Court's recent claim construction in this matter as grounds for the Court to reconsider its
   Order denying Adobe's prior motion for summary judgment, which argued that Paintiff TecSec,
   Inc.'s asserted claims of the DCOM patents are invalid under 35 U.S.C. § 101. The Court has
   reviewed Berkheimer v. HP Inc., 881 F.3d 1360(Fed. Cir. 2018)and Aatrix Software. Inc. v.
   Green Shades SoftM'are. Inc., 882 F.3d 1121 (Fed. Cir. 2018)and finds that these cases, while
   controlling authority, are not contrary decisions oflaw and do not render this Court s prior
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 decision erroneous or otherwise counsel in favor of reconsideration. The Court has also reviewed
 its prior claim construction ruling and finds no inconsistency with its Section 101 decision which
 would render that decision clearly erroneous or manifestly unjust.
         As to Adobe's summary judgment motion, seeking summary judgment or partial
 summary judgment on nine issues within the case, the Court finds that there are material facts in
  dispute on each ofthe nine issues which must be resolved by a factfinder.     Levilon Mfg. Co.
  V. Universal Sec. Instruments, Inc., 606 F.3d 1353, 1358 (Fed. Cir. 2010).
         For these reasons and for good cause shown, the motions are DENIED.
         It is SO ORDERED.

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  JuneH 2018                                                  United State>Di>irict Judge
  Alexandria, Virginia
